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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                              No. 18 CR 789
              v.
                                              Judge Gary Feinerman
 DENY MITROVICH

                       GOVERNMENT’S RESPONSE TO
                     DEFENDANT’S MOTION TO COMPEL

       The UNITED STATES OF AMERICA, by JOHN R. LAUSCH, JR., United

States Attorney for the Northern District of Illinois, respectfully submits this

response to defendant’s motion to compel. For the following reasons, the motion

should be denied.

I.     BACKGROUND

       On November 20, 2018, defendant Deny Mitrovich was charged by indictment

with one count of possessing child pornography, in violation of Title 18, United States

Code, 2252A(a)(5)(B). The indictment alleged defendant possessed three hard drives

containing child pornography. These hard drives were seized from defendant’s

apartment in May 2015 during the execution of a search warrant.

       As relayed in his motion, defendant’s apartment’s IP address came to the FBI’s

attention as a result of a lead provided by Queensland Police Service

(QPS)/Department of Internal Affairs (DIA)—two Australian law enforcement

agencies—who were operating a child-pornography website (The Love Zone, or TLZ)

in an undercover capacity. In furtherance of its investigation, QPS/DIA uploaded a

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hyperlink to TLZ that linked to a file within a forum on TLZ. The hyperlink was

advertised as a preview of a child pornography website with streaming video.

According to QPS/DIA, when a TLZ user clicked on the hyperlink, the member was

advised that the user was attempting to open a video file from an external website. If

the member chose to open the file, a video file containing images of child pornography

began to play and QPS/DIA captured and recorded the user’s true IP address,

notwithstanding the fact that TLZ was normally accessed through the identity-

masking Tor network. QPS/DIA explained that it was able to capture the IP address

by configuring the video file to open an internet connection outside of Tor, thereby

allowing QPS/DIA to capture the user’s actual IP address, as well as a session

identifier that tied the IP address to the activity of a particular TLZ user account.

      On December 3, 2019, defendant moved to compel production of (1) “any and

all communications between the [United States] government and [QPS/DIA]” and (2)

“information regarding the software used to unlawfully seize [defendant’s] IP

address.” Dkt. No. 48 at 1.

      The charge against defendant in this case is not based at all on media that was

seized from TLZ’s servers or saved elsewhere in the “cloud.” Instead, the child

pornography defendant is charged with possessing was seized entirely from

defendant’s own hard drives in his own apartment. As such, at trial, the government

does not intend to present evidence about the investigation conducted by QPS/DIA.

Nevertheless, defendant seeks information and materials about QPS/DIA’s


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investigation because he believes such discovery could possibly support a motion to

suppress the “seizure” of defendant’s IP address by QPS/DIA. However, as explained

below, defendant’s motion to compel should be denied because defendant’s theory fails

as a matter of law. Even assuming the United States government were accountable

for the seizure of defendant’s IP address by QPS/DIA—which the government

contests—the seizure itself could not be a basis for suppression because it did not

violate the Fourth Amendment as defendant suggests.

II.     DISCUSSION

        Defendant’s motion should be denied because his only stated reason for

wanting the requested materials—possible suppression of the evidence obtained as a

result of his IP address being seized—is unavailable as a matter of law.

        First, defendant voluntarily left the anonymity of the Tor network when he

independently clicked the investigative hyperlink in the hopes of viewing more child

pornography. Second, defendant had no reasonable expectation of privacy in his true

IP address because—in order to use the Tor network at all—he necessarily disclosed

his true IP address to unknown third parties.

        A.    Defendant Voluntarily Left the Tor Network

        Defendant contends that “TLZ users who clicked the infected hyperlink were

involuntarily redirected to an open Internet network. . . . And where an individual’s

movements and decisions are controlled by the government, in an effort to seize




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information the individual is taking affirmative steps to keep private; the situation

stinks of a Fourth Amendment violation.” Dkt. No. 48 at 13–14.

      Defendant’s argument fails for the simple reason that his conduct was

completely voluntary. Defendant alone chose to click the hyperlink in search of child

pornography. The government did not compel his actions—his finger was not forced

down on the mouse, nor was he threatened with some sort of harm. Instead,

defendant wished to view a preview of a new child-pornography website, so he

voluntarily clicked on a link that he believed brought him there. The mere fact that

defendant was actually falling for an investigative ploy did not render his decision

involuntary.

      This situation is materially identical to those situations in which a defendant

divulges inculpatory information to another person who, unbeknownst to the

defendant, is an agent of the government. And it is beyond dispute that such tactics

are fully consistent with the Fourth Amendment. See e.g., Hoffa v. United States, 385

U.S. 293, 302 (1966) (“Neither this Court nor any member of it has ever expressed

the view that the Fourth Amendment protects a wrongdoer’s misplaced belief that a

person to whom he voluntarily confides his wrongdoing will not reveal it.”); Lewis v.

United States, 385 U.S. 206, 210–11 (1966) (“In the instant case, on the other hand,

the petitioner invited the undercover agent to his home for the specific purpose of

executing a felonious sale of narcotics. Petitioner’s only concern was whether the

agent was a willing purchaser who could pay the agreed price”); United States v.


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White, 401 U.S. 745 (1971) (“Inescapably, one contemplating illegal activities must

realize and risk that his companions may be reporting to the police. If he sufficiently

doubts their trustworthiness, the association will very probably end or never

materialize. But if he has no doubts, or allays them, or risks what doubt he has, the

risk is his.”). Just as the defendants in Hoffa, Lewis, and White did not know their

interactions with the government agent were part of an investigation, defendant did

not know that the link he was clicking was part of an investigation. Nevertheless,

Hoffa, Lewis, White, and defendant all acted voluntarily and therefore—as the

Supreme Court has made clear—they have no complaint under the Fourth

Amendment.

      In essence, defendant argues he never would have clicked the hyperlink if he

knew it was actually part of a sting. Such a position is no different from a defendant

complaining that he never would’ve sold heroin to a customer if he knew the customer

was actually an undercover officer. Considered in this light, it’s clear how meritless

defendant’s argument is.

      Defendant cites to several cases in which investigators obtained a search

warrant to execute a “Network Investigative Technique” (NIT) in order to identify the

computers that were accessing child pornography. Dkt. No. 48 at 16. These cases are

inapposite, however, because they involved investigative measures in which the

target computers were essentially taken over and compelled to transmit identifying

information to government computers. See United States v. Michaud, 2016 WL


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337263, *2 (W.D. Wash. May 25, 2016). Here, by contrast, QPS/DIA merely planted

a hyperlink that—when voluntarily clicked by defendant—loaded a video file that

was not within the Tor network. Defendant’s computer was not compelled to do

anything other than what defendant asked it to do when he voluntarily clicked the

link and viewed the video.

      In an NIT case defendant did not cite, United States v. Horton, the Eighth

Circuit directly addressed whether a search warrant was required for an NIT. See

863 F.3d 1041 (8th Cir. 2017). In concluding that a warrant was necessary, the court

distinguished the use of NIT from those cases in which only IP addresses were

searched:

      We first address whether a warrant was required for the use of a NIT.
      At least one district court in this circuit has determined that a warrant
      would likely be unnecessary for an NIT that exclusively searched for IP
      addresses, relying on a line of cases allowing third-party subpoenas of
      the same. . . . A defendant’s publicly available information may not be
      entitled to Fourth Amendment protection. . . . But, “[t]he government is
      not permitted to conduct a warrantless search of a place in which a
      defendant has a reasonable expectation of privacy simply because it
      intends to seize property for which the defendant does not have a
      reasonable expectation of privacy.” . . .

      This case differs from cases in which an IP address is voluntarily
      provided to third parties. . . . In this case, the FBI sent computer code to
      the defendants’ respective computers that searched those computers for
      specific information and sent that information back to law enforcement.
      Even if a defendant has no reasonable expectation of privacy in his IP
      address, he has a reasonable expectation of privacy in the contents of
      his personal computer. . . . Moreover, the NIT retrieved content from the
      defendants’ computers beyond their IP addresses. We conclude the
      execution of the NIT in this case required a warrant.

Id. at 1046–47.

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       In sum, the cases involving NIT do not support the argument that a

warrant was needed for the investigation in this case, because the investigative

steps taken here did not involve searching defendant’s computer. 1

       B.     Defendant Lacked a Reasonable Expectation of Privacy in his
              True IP Address

       In United States v. Caira, the Seventh Circuit held the defendant did not have

a reasonable expectation of privacy in his IP address because he voluntarily shared

it with Microsoft in connection with using the Hotmail service. 833 F.3d 803, 809 (7th

Cir. 2016). Defendant contends his case is distinguishable from Caira because,

“[h]ere, however, the IP address was not voluntarily provided to a third-party[.]” Dkt.

No. 48 at 10. This assertion is factually incorrect.

       In order to use the Tor network, defendant necessarily disclosed his true IP

address—and other information—to third parties who were unknown to him.

Magistrate Judge Cheryl Zwart described the phenomenon succinctly in the course

of concluding that even Tor users lack a reasonable expectation of privacy in their IP

addresses:

       As explained above, the Tor Network conceals a user’s IP address prior
       to connecting with the end website. The main purpose of the Tor
       Network is for a user to avoid being identified. But even when using the
       Tor Network, an individual’s IP address is disclosed to the first “node”
       in the Tor Network before being bounced to subsequent “nodes.” “Using


1 It bears noting that the two courts of appeal to consider the issue both found no abuse of

discretion by the district court denying the defendant’s motion to compel production of the
NIT source code. United States v. Jean, 891 F.3d 712, 715 (8th Cir. 2018) (motion for complete
source code); United States v. Kienast, 907 F.3d 522, 530 (7th Cir. 2018) (motion to review
source code).
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  the Tor network does not strip users of all anonymity, because users
  accessing [Playpen] must still send and receive information, including
  IP addresses, through another computer . . . at a specific location.”
  Michaud, 2016 WL 337263 at *7. “[A] necessary aspect of Tor is the
  initial transmission of a user’s IP address to a third-party.” [United
  States v.] Werdene, ––– F. Supp. 3d at ––––, 2016 WL 3002376 at *8
  [E.D. Penn. May 18, 2016]. “[I]n order for a prospective user to use the
  Tor network they must disclose information, including their IP
  addresses, to unknown individuals running Tor nodes, so that
  communications can be directed toward their destinations.” United
  States v. Farrell, 2016 WL 705197 at *2 (W.D. Wash. Feb. 23, 2016). The
  Tor project itself warns users: “Tor cannot solve all anonymity problems.
  It focuses only on protecting the transport of data. You need to use
  protocol-specific support software if you don’t want sites you visit to see
  your               identifying             information.”               See
  https://www.torproject.org/about/overview.html.en#stayinganonymous,
  last visited September 23, 2016.

  With or without Tor, Defendant was sharing his IP address with
  others—total strangers, to potentially include law enforcement
  officers—with the hope and belief that the users of the first “node”
  computer would keep his IP address secret. While Defendant’s choice to
  use Tor may be evidence of his “actual, (subjective) expectation of
  privacy” in his IP address, using Tor does not elevate that expectation
  to “one that society is prepared to recognize as ‘reasonable.’ “ [United
  States v.] De L’Isle, 825 F.3d at 431 [(8th Cir. 2016)]. Under the facts
  presented, like other courts, this court finds a user of the Tor network
  does not have a reasonable expectation of privacy in his IP address. See
  Werdene, ––– F. Supp. 3d at ––––, 2016 WL 3002376 at *9 (“[Defendant]
  was aware that his IP address had been conveyed to a third party and
  he accordingly lost any subjective expectation of privacy in that
  information”); Michaud, 2016 WL 337263 at *7 (“Even though it was
  difficult for the Government to secure that information tying the IP
  address to [Defendant], the IP address was public information, like an
  unlisted telephone number, and eventually could have been
  discovered”).




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United States v. Dzwonczyk, 2016 WL 11396811, *4 (D. Neb. Oct. 5, 2016) (report and

recommendation adopted by United States v. Dzwonczyk, 2016 WL 7428390 (D. Neb.

Dec. 23, 2016). 2

         Just like all the courts cited above, this court should conclude that defendant

lacked a reasonable expectation of privacy in his IP address—notwithstanding his

use of Tor—because the process necessarily required him to share his IP address with

strangers.

III.     CONCLUSION

         For the foregoing reasons, the government respectfully requests that the court

deny defendant’s motion to compel.



Dated:         January 3, 2020                   Respectfully Submitted,

                                                 JOHN R. LAUSCH, JR.
                                                 United States Attorney

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2 The district court, while agreeing there was no reasonable expectation of privacy in an IP

address, disagreed with the magistrate judge on the issue of whether the use of the NIT was
a search. However, as already discussed, the case at bar did not involve the NIT and
defendant’s computer was not searched/compelled to send identifying information (including
information beyond a mere IP address). To the contrary, defendant disclosed his IP address
voluntarily in the normal course of accessing a video that, unbeknownst to defendant, was
outside the Tor network.
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